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              Richard Gary Vincioni v. Vanderbilt University, Et Al. M2017-01302-COA-R3-CVAuthoring Judge: Presiding Judge J. Steven Stafford Trial Court Judge: Judge Amanda Jane McClendon Appellant alleges intentional infliction of emotional distress, negligent infliction of emotional distress, and negligent hiring, supervision, and retention against a University and its employees. The trial court granted Appellees’ motion to dismiss for failure to state a claim upon which relief can be granted. Discerning no error, we affirm.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              Estate of David Lyons v. Latony Baugh, Et Al. M2017-00094-COA-R3-CVAuthoring Judge: Judge W. Neal McBrayer Trial Court Judge: Chancellor Claudia Bonnyman The parties to a wrongful death action reached a mediated settlement under which the settlement proceeds were divided between the surviving spouse and the deceased’s children. After the settlement agreement was judicially approved and the proceeds disbursed, the trial court ruled that the surviving spouse had waived his right to collect any settlement proceeds. The deceased’s children filed a legal malpractice action against the estate of the attorney who had represented their guardian ad litem in the wrongful death action because he failed to contest the surviving spouse’s standing. As part of the settlement of the legal malpractice action, the children assigned their claims against the surviving spouse to the estate of the attorney. The estate then filed this equitable actionagainst the surviving spouse and his girlfriend, seeking recovery of the settlement proceeds and a constructive trust on any property purchased with those proceeds. Both the estate and the surviving spouse filed cross-motions for summary judgment. The trial court denied the spouse’s motion but granted the estate summary judgment based on unjust enrichment. We reverse the grant of summary judgment.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Charles R. M2017-02387-COA-R3-CVAuthoring Judge: Presiding Judge Frank G. Clement, Jr. Trial Court Judge: Judge Michael Todd Burnett Parents appeal the termination of their parental rights. On April 24, 2013, the then threeyear- old child was removed from the parents’ home after a visitor to the home notified the Department of Children Services that he saw the child behind what appeared to be a jail-cell, making only grunting noises. The child has been in foster care ever since. After working with the parents for nearly two years, the Department filed a petition to terminate the parents’ parental rights. Following the first trial in October of 2015, both parents’ rights were terminated; however, that decision was vacated and the case remanded “for a new hearing so that a complete transcript may be produced. . . .” Order, In re Charles R., No. M2015-02347-COA-R3-PT (Tenn. Ct. App. Nov. 22, 2016). Following a second trial in September and October of 2017, the trial court entered an order on November 21, 2017, terminating both parents’ rights. We affirm.            
                      
              Fentress County            
                      
              Court of Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              Lucas D. Bottorff, Et Al. v. Anne A. Sears, Et Al. M2017-01363-COA-R3-CVAuthoring Judge: Judge Kenny Armstrong Trial Court Judge: Judge Joseph WoodruffThe Administrator CTA of Decedent’s estate filed a petition, against Decedent’s daughter, to recoup assets of the estate. In the final year of Decedent’s life, Appellant transferred almost $400,000 of Decedent’s assets to herself using a power of attorney she obtained after her brother’s power of attorney was revoked. The trial court determined that the transfers were self-dealing transactions and that Appellant breached her fiduciary duty to Decedent. The trial court entered a judgment against Appellant in the amount of $116,747.85 plus pre-judgment interest. Additionally, the trial court declared the quit claim deed executed in favor of Appellant to be void ab initio. Discerning no error, we affirm.            
                      
              Williamson County            
                      
              Court of Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              Steve Anthony Contreras v. Kimberly Dawn Contreras (Hinson)W2018-00093-COA-R3-CVAuthoring Judge: Judge Andy D. BennettTrial Court Judge: Chancellor James F. ButlerThe father in this post-divorce dispute challenges the trial court’s determinations regarding his child support arrearage, medical insurance premiums, credits against the arrearage, and attorney fees. Finding no merit to father’s arguments, we affirm the trial court’s decision.            
                      
              Henderson County            
                      
              Court of Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              Robert Lee Harris v. Regions Financial Corp. Et Al.E2017-00838-COA-R3-CVAuthoring Judge: Judge Charles D. Susano, Jr.Trial Court Judge: Judge Elizabeth C. AsburyThis case involves the plaintiff’s purchase of real property and the alleged fraud by others as to the property’s real value. On December 20, 2016, the plaintiff filed a pro se complaint against several defendants, including Regions Financial Corporation. The plaintiff labeled his six counts as sounding in fraud in the inducement, breach of contract, conspiracy, intentional infliction of emotional distress, negligent infliction of emotional distress, and improper foreclosure of deed of trust. The trial court dismissed the plaintiff’s complaint against the defendants, holding that the complaint is barred by the three year statute of limitations. See Tenn. Code Ann. § 28-3-105 (2017). In so holding, the court determined that the complaint, on its face, shows that the plaintiff, as early as 2006, knew, or should have known, that the property was worth substantially less than the plaintiff paid for it and, as a consequence, he had been injured by the acts of others. In response, the plaintiff argues that the trial court erred when it failed to rely upon the sixyear statute of limitations as to his claim for breach of contract. See Tenn. Code Ann. § 28-3-109(a)(3) (2017). Plaintiff appeals. We affirm            
                      
              Claiborne County            
                      
              Court of Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              Delores Conley v. Tennessee Farmers Insurance CompanyW2017-00803-COA-R3-CVAuthoring Judge: Judge Arnold B. GoldinTrial Court Judge: Judge Robert Samual WeissThis appeal involves a dispute between an insurance company and one of its insureds. Following a fire to her home, the insured brought suit requesting that the insurance company be required to pay a claim for personal property damage. The insurance company defended on the ground that the insurance policy was void because a misrepresentation by the insured on her application for insurance increased the “risk of loss.” See Tenn. Code Ann. § 56-7-103. The trial court agreed with the insurance company and granted summary judgment in its favor. For the reasons stated herein, we affirm.            
                      
              Shelby County            
                      
              Court of Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              Judy Morrow Wright, et al. v. Matthew G. Buyer, et al.W2018-01094-COA-T10B-CVAuthoring Judge: Judge W. Neal McBrayerTrial Court Judge: Judge Kathleen N. GomesThis is an accelerated interlocutory appeal as of right from the denial of a motion for recusal. In their petition for recusal appeal, Petitioners admit that they did not promptly file the recusal motion after the facts forming the basis for the motion became known. As such, Petitioners waived their right to challenge the probate judge’s impartiality. The record is also insufficient to support a finding of error on the part of the probate judge because the motion for recusal was unaccompanied by an affidavit as required by the rules. Thus, we affirm the probate court’s denial of the recusal motion.            
                      
              Shelby County            
                      
              Court of Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              In Re:  R.S. ET AL. E2018-00270-COA-R3-PTAuthoring Judge: Judge Kenny ArmstrongTrial Court Judge: Judge Thomas J. WrightThis is a termination of parental rights case. Appellant/Father appeals the trial court’s termination of his parental rights to the two minor children on the grounds of: (1) abandonment by an incarcerated parent by wanton disregard, Tenn. Code Ann. §§ 36-1- 113(g)(1) and 36-1-102(1)(A)(iv); (2) abandonment by failure to provide a suitable home, Tenn. Code Ann. §§ 36-1-113(g)(1) and 36-1-102(1)(A)(ii); (3) substantial noncompliance with the reasonable requirements of the permanency plan, Tenn. Code Ann. §§ 36-1-113(g)(2) and 37-2-403(a)(2). Appellant also appeals the trial court’s finding that termination of his parental rights is in the children’s best interests. Because there is clear and convincing evidence to support both the grounds for termination of Appellant’s parental rights and the trial court’s finding that termination is in the children’s best interest, we affirm.            
                      
              Hamblen County            
                      
              Court of Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee Ex Rel. Claiborne County v. Delinquent Taxpayer, Albertano Alvarez Et Al. E2017-01683-COA-R3-CVAuthoring Judge: Judge Thomas R. Frierson, IITrial Court Judge: Judge Elizabeth C. AsburyThis appeal arises from a delinquent taxpayer action. The appellants were lienholders on a parcel of real property sold to a separate purchaser during a delinquent tax sale. Following the tax sale, the lienholders filed a petition for redemption. In response, the purchaser filed a motion to protest the validity of the lien or, alternatively, a claim to recover $8,579.60 in “lawful charges” that he and a friend had incurred to clear debris and personalty from the real property. The lienholders then filed a “cross claim” against the purchaser, alleging conversion and trespass to chattels. The lienholders sought an award of actual damages for removal of personalty and a “steel building” from the real property, as well as punitive damages for the purchaser’s allegedly malicious actions. The purchaser filed an answer, denying all substantive allegations. The purchaser subsequently withdrew his objection to the validity of the lien. Following a bench trial, the trial court granted the lienholders’ petition for redemption upon the conditions that the lienholders pay all delinquent taxes, penalties, and fees; reimburse the purchaser and his friend in the amount of $8,579.60 for expenses incurred in the removal of debris and personalty; and reimburse the purchaser and his friend in the amount of $600.00 for storage of personalty. The lienholders have appealed. Having determined that the order appealed from fails to resolve the lienholders’ claims of conversion and trespass to chattels, we conclude that it is not a final order. Accordingly, we dismiss the appeal for lack of subject matter jurisdiction.            
                      
              Claiborne County            
                      
              Court of Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              Joseph J. Levitt, Jr. v. City of Oak Ridge, et al.E2016-02140-COA-R3-CVAuthoring Judge: Judge D. Michael SwineyTrial Court Judge: Chancellor M. Nichole CantrellJoseph J. Levitt (“Owner”), the owner of the Applewood apartment complex located in Oak Ridge, Tennessee, appeals the September 14, 2016 order of the Chancery Court for Anderson County (“the Trial Court”) granting summary judgment to the City of Oak Ridge, the Oak Ridge Board of Building and Housing Appeals, and Denny Boss (collectively “the City”) in this suit seeking to overturn the City’s order that six of the Applewood buildings be vacated and demolished. Owner raises issues on appeal regarding the adminstrative warrants and whether the decision of the board was arbitrary, capricious, or illegal. We find and hold that the adminstrative warrants satisfied the requirements of Tenn. Code Ann. § 68-120-117 and that the decision of the board was not arbitrary, capricious, or illegal. We, therefore, affirm the Trial Court’s grant of summary judgment.            
                      
              Anderson County            
                      
              Court of Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              Gary Lee Odom v. Rachel Lea Zamata Odom M2017-01702-COA-R3-CVAuthoring Judge: Judge Thomas R. Frierson, IITrial Court Judge: Judge Phillip R. Robinson In this divorce action, the wife was found to be in “willful, direct and summary contempt of court beyond a reasonable doubt,” based on her responses to the trial court judge’s questions during a motion hearing. The wife has appealed. Discerning no error, we affirm the trial court’s judgment. We decline to award to the husband his attorney’s fees incurred on appeal.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Delinquent Taxpayers as Shown On The 2011 Real Property Tax Records Of The Metropolitan Government Of Nashville &amp; Davidson County., Et Al. v. The Metropolitan Government of Nashville And Davidson County. , Et Al. M2015-02450-COA-R3-CVAuthoring Judge: Judge Richard H. DinkinsTrial Court Judge: Chancellor Carol L. McCoy A landowner’s real property was sold at a delinquent tax sale on August 14, 2013. The taxpayer subsequently conveyed her interest in the property to a third party that redeemed the property within the one-year redemption period. In the interim, new legislation took effect that altered the redemption process. The purchaser at the tax sale and two creditors of the taxpayer moved the court to set aside the redemption, contending that the redeeming party failed to comply with the new law. The trial court held that the redemption procedure set forth in the new legislation applied, that the redeeming party did not follow the redemption process set forth in the new legislation, and thus, that the redemption failed. The redeeming party appeals. We hold that the trial court correctly determined that the redeeming party was entitled to redeem but erred in concluding that the new statute applied to this redemption and that the redemption failed due to the redeeming party’s failure to follow the new redemption process; accordingly, we affirm in part and reverse in part the judgment of the trial court and remand for further proceedings.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Frank Trojan v. Wayne County, Tennessee M2017-00415-COA-R3-CVAuthoring Judge: Judge Richard H. DinkinsTrial Court Judge:  Judge Robert L. Jones An inmate in state custody who was being housed in a county jail filed suit under the Tennessee Governmental Tort Liability Act to recover for injuries he suffered while on a work detail. The trial court dismissed the suit, holding that Tennessee Code Annotated section 41-2-123(d)(2) grants counties that allow inmates to work on road details and other projects immunity from liability for injuries. The inmate appeals, contending he was not in the class of inmates defined in section 41-2-123 and, consequently, that the county’s immunity was removed. Concluding that section 41-2-123(d)(2) controls over the provisions of the Tort Liability Act, we affirm the trial court’s judgment that the county was immune and its dismissal of the suit.            
                      
              Wayne County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Jeffery Todd Burke v. Sparta Newspaper, Inc. M2016-01065-COA-R3-CVAuthoring Judge: Judge W. Neal McBrayer Trial Court Judge: Judge Amy V. Hollars The trial court granted summary judgment to defendant publisher of an allegedly defamatory newspaper article concerning plaintiff. The article was based upon a one-onone, private interview between the public information officer for the White County Sheriff’s Office and a newspaper reporter. The court determined that the interview given by the public information officer constituted an “official action” of government that the article fairly and accurately reported. As such, the court concluded that any alleged defamatory statements included in the article were privileged under the common-law “fair report privilege.” Plaintiff appealed, arguing in part, that the fair report privilege does not apply. Because we conclude that the interview did not constitute an official act of government, we reverse the grant of summary judgment.            
                      
              White County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Diawn B. M017-01159-COA-R3-JVAuthoring Judge: Presiding Judge Frank G. Clement, Jr. Trial Court Judge: M2017-01159-COA-R3-JVThis appeal arises from an action for grandparent visitation. The child’s father died when she was seven weeks old, and when the mother denied visitation to the paternal grandmother, the paternal grandmother filed a petition for grandparent visitation. After a trial, the court determined that the mother opposed visitation, the presumption of substantial harm was not overcome, and grandparent visitation was in the child’s best interests. The court ordered grandparent visitation the third weekend of each month, Thanksgiving break in odd years, every Christmas break, and every summer break. The court also gave the grandmother four of the parental rights found in Tenn. Code Ann. § 36-6-101(a)(3)(B)—the right to educational records, the right to be free from derogatory remarks, the right to be notified of medical emergencies, and the right to be notified of extracurricular activities and the opportunity to participate in or observe them. The mother filed a motion to alter or amend the judgment, and the grandmother filed a response and a motion to strike the hearsay contained in mother’s motion. Grandmother also requested attorney’s fees in connection with her motion to strike hearsay. The trial court entered an “amended” order that was substantively the same as its original decision granting grandparent visitation, and it ordered the mother to pay the grandmother’s attorney’s fees in connection with the grandmother’s motion to strike hearsay. On appeal, the mother asks this court to determine (1) whether the trial court erred “by awarding appellee grandmother a visitation schedule which is essentially a ‘tweaked’ parenting plan, along with the rights of a parent under Tennessee law,” and (2) whether the trial court erred by awarding the grandmother her attorney’s fees in opposing the mother’s motion to amend. We have determined that the extensive visitation schedule impermissibly interferes with the mother’s parental rights under the Tennessee Constitution, and therefore, it is not “reasonable” under Tenn. Code Ann. § 36-6-306(c). We have also determined that Tenn. Code Ann. § 36-6-101(a)(3)(B) is inapplicable in actions for grandparent visitation; therefore, the grandmother is not entitled to any of the rights listed in Tenn. Code Ann. § 36-6-306. Further, we have determined that the trial court erred by awarding attorney’s fees to the grandmother because we find no contractual or statutory basis for the award. Therefore, the judgment of the trial court is vacated and this matter is remanded with instructions for the trial court to establish a grandparent visitation schedule that comports with Tenn. Code Ann. § 36-6-306(c) and minimizes interference with the mother’s fundamental constitutional rights            
                      
              Rutherford County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              James Jones v. Raymond M. HargreavesM2017-01271-COA-R3-CVAuthoring Judge: Judge Richard H. DinkinsTrial Court Judge: Judge Hamilton V. Gayden In this health care liability action, the defendant doctor filed an unopposed motion for summary judgment. After the motion was granted, he filed a motion pursuant to Tennessee Code Annotated section 29-26-122, requesting the court to compel the plaintiff or his counsel to provide the court with a copy of the expert’s signed written statement that was relied upon in executing the certificate of good faith that accompanied the complaint. The trial court denied the motion, holding that the matter should have been raised in the Defendant’s motion for summary judgment or a motion for discretionary costs. Upon our review of the statute, we do not find a requirement that the request for the expert witness’ statement be made in the manner held by the trial court; accordingly, we reverse the judgment of the trial court and remand for further consideration of the defendant’s motion.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Metropolitan Government of Nashville And Davidson County v. Delinquent Taxpayers As Shown On The 2011 Real Property Tax Record M2018-00026-COA-R3-CVAuthoring Judge: Judge Richard H. Dinkins Trial Court Judge: Chancellor Ellen H. Lyle A delinquent taxpayer’s property was sold at a tax sale on January 22, 2014. The taxpayer subsequently conveyed her interest in the property to a third party that redeemed the property within the one-year statutory redemption period. The proceedings were stayed a year and a half due to the redeeming party’s bankruptcy; after the stay was lifted, the trial court held a hearing on the tax-sale purchaser’s motion for additional costs and then entered an order finalizing the redemption. In that order, the trial court ruled that the redeeming party was required to, among other things, pay interest on the price paid by the tax-sale purchaser at the tax sale for the entire period between the tax sale and entry of the final order. The redeeming party appeals, arguing that the statute only allowed interest to be charged from the date of the tax sale through the date the redemption process began. We agree, and we therefore reverse the judgment of the trial court and remand for further proceedings.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Primary Residential Mortgage, Inc. v. Sheri Baker, Et Al. M2016-01786-COA-R3-CVAuthoring Judge: Judge W. Neal McBrayer Trial Court Judge: Judge Joseph P. Binkley, Jr. Plaintiff sued a defendant for filing an unauthorized financing statement. Defendant filed a motion to dismiss and later a motion to disqualify the judge, both of which were denied. The court also ordered Defendant to file an answer. When Defendant failed to comply, the court granted Plaintiff’s motion for a default judgment. Defendant’s husband intervened shortly thereafter, claiming that he filed the financing statement. Defendant’s husband likewise filed a motion to dismiss and a later motion to disqualify. The court denied both motions and ordered husband to file an answer. When Husband failed to do so, the court granted Plaintiff’s motion for a default judgment against Husband. Husband filed a motion to set aside the default judgment, which was denied. This appeal followed. We affirm. Deeming this appeal frivolous, we award Plaintiff attorney’s fees incurred on appeal.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Gabriel B.W2017-02514-COA-R3-PTAuthoring Judge: Judge Andy D. BennettTrial Court Judge: Judge Christy R. LittleA juvenile court terminated a father’s parental rights on the grounds of abandonment by willful failure to support, substantial noncompliance with permanency plans, and persistence of conditions. The father appeals the termination of his rights. We conclude that the evidence clearly and convincingly supports the trial court’s termination on these grounds and affirm the judgment.            
                      
              Madison County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              AMCO Insurance Company v. Ralph W. Mello, et al.M2017-01904-COA-R3-CVAuthoring Judge: Judge Arnold B. GoldinTrial Court Judge: Judge Joseph WoodruffThis appeal involves a dispute between an insurance company and its insured regarding the application of exclusion clauses in a homeowners’ insurance policy and a personal umbrella liability policy. After malicious prosecution and abuse of process claims were filed against the insured in Alabama by a law firm, the insurance company accepted the defense under a reservation of rights and filed the present action seeking a declaration that it is not required to provide coverage for the damages complained of in the Alabama lawsuit. Following a bench trial held on stipulated facts, the trial court determined that the insured was, in fact, entitled to certain coverage. We reverse.            
                      
              Williamson County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Jason Garner Williams v. Stacy Brown WilliamsW2017-02023-COA-R3-CVAuthoring Judge: Judge Kenny ArmstrongTrial Court Judge: Chancellor W. Michael MaloanThis is a divorce case. The trial court entered a final decree of divorce designating Husband as the primary residential parent for the parties’ minor child and concluding that Husband is not under-employed for purposes of calculating child support. Because the trial court did not make sufficient findings of fact and conclusions of law as required under Tennessee Rule of Civil Procedure 52.01, we vacate the trial court’s judgment as to the issues raised on appeal.            
                      
              Weakley County            
                      
              Court of Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Brent Christopher Dishon v. Lisa Renee Dishon M2017-01378-COA-R3-CVAuthoring Judge: Judge Thomas R. Frierson, IITrial Court Judge: Judge L. Craig Johnson This appeal arose from a divorce action filed by the husband. The parties entered into a mediation agreement in December 2014, wherein the parties agreed, inter alia, that the husband would pay to the wife $1,200 per month in alimony, that the husband’s alimony obligation would cease if the wife were cohabitating with a person of the opposite sex, and that the wife would be designated as the primary residential parent for the parties’ minor child. Following execution of the mediation agreement, the husband’s employment hours were decreased by his employer. The wife subsequently filed a “Motion to Restore Payment Agreement,” in which she alleged that the husband had failed to adhere to his financial responsibilities pursuant to the mediation agreement. The husband thereafter filed a response to the wife’s motion, alleging that a material change in circumstance had occurred subsequent to the mediation agreement. The trial court entered a judgment on February 25, 2016, enforcing the mediation agreement but determining, due to the husband’s decrease in income, that a material change in circumstance had occurred since the mediation agreement was entered into by the parties. The trial court further found that the wife had been cohabitating with a person of the opposite sex. Nonetheless, the trial court determined that the wife remained the economically disadvantaged spouse following the divorce and reduced the husband’s alimony responsibility to $500 per month. The trial court further determined that it was in the best interest of the child for the wife to be the primary residential parent of the child. The husband subsequently filed a motion to alter or amend the trial court’s judgment and a motion to terminate his alimony obligation, both of which were denied by the trial court. Husband timely appealed. Having determined that the trial court erred by failing to cease Husband’s alimony responsibility, in compliance with the enforced mediation agreement, upon its finding that the wife was cohabitating with a person of the opposite sex, we reverse the alimony award. We affirm the remaining aspects of the trial court’s judgment. Because the husband’s payment history regarding alimony is unclear from the record, we hereby remand for a determination by the trial court regarding whether Husband owes Wife alimony incurred prior to February 25, 2016, or whether Husband is owed reimbursement of alimony paid past February 25, 2016.            
                      
              Coffee County            
                      
              Court of Appeals             
                      
              07/20/18            
                      
                          
                      
                          
                  
                        
                      
              Brent Ray, Et Al. v. Thomas Neff, Et Al. M2016-02217-COA-R3-CVAuthoring Judge: Presiding Judge J. Steven Stafford Trial Court Judge: Judge Joseph P. Binkley, Jr. Plaintiffs/Appellants sued Defendants/Appellees for nuisance and trespass claims over a dispute in the change of water flow onto Appellants’ property due to modifications, namely the installation of a pipe, on Appellees’ property. Appellants voluntarily non-suited the case twice, and ultimately filed the instant complaint almost five years after the filing of their original complaint. Appellees moved for summary judgment on both claims. In a three-part ruling spanning thirteen months, the trial court granted summary judgment and determined (1) that the pipe was a permanent nuisance and, therefore, any nuisance claim was time-barred; (2) that the trespass was a permanent trespass and, again, time-barred; and (3) that Appellants could not establish causation as to the trespass claim. We affirm the decision of the trial court granting summary judgment.&nbsp;&nbsp;            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              07/20/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Blake A., Et Al. M2016-01621-COA-R10-JVAuthoring Judge: Judge Richard H. Dinkins Trial Court Judge: Judge Timothy K. Barnes The parents of two children adopted a parenting plan in which Mother was designated the primary residential parent and parenting time was split equally; a special provision in the parenting plan prevented either parent from relocating with the children without the other parent’s permission. Mother subsequently informed Father of her intent to relocate to another state with the children. In response, Father filed a petition in opposition to removal and to modify the parenting plan. The court denied Mother’s relocation, holding that the provision in the parenting plan superseded the application of the parental relocation statute; the court further determined that the parties were spending substantially equal time with the children and that relocation was not in the children’s best interest. Mother appeals. We conclude that the court erred in holding that the provision in the parenting plan prevented Mother from relocating; that the court did not make sufficient findings of fact to support its holding that the parents were spending substantially equal time with the children; and that the finding that relocation is not in the best interest of the children is supported by the evidence. Accordingly, we reverse the judgment in part, affirm in part, and remand the case for further proceedings.&nbsp; &nbsp;            
                      
              Montgomery County            
                      
              Court of Appeals             
                      
              07/19/18            
                      
                          
                      
                          
                  
            


      
    
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